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                                                  October 14, 2024

        Judge Christopher C. Conner
        U.S. District Court
        228 Walnut Street
        Harrisburg, PA 17101

                   Re: Hon. Guy Reschenthaler, et al. v. Secretary Al Schmidt, et al., 24-cv-1671-CCC

        Dear Judge Conner:

                Pursuant to the Court Order, dated Friday, October 4, after contacting counsel for the
        Defendants I emailed informal prehearing written discovery on Tuesday, October 8 about 2:40
        p.m. The written discovery was targeted to confirming the PA Department of State’s and counties’
        non-verification of UOCAVA voter registration information. The written discovery included
        interrogatories, document requests and requests for admission. The requests for admission
        included a request for admission that Amended Complaint Exhibit L—a diagram—was an accurate
        representation of the Defendants’ processes with the counties regarding voter registration
        applications, absentee ballot applications and absentee ballot processes.

                Counsel replied, by agreeing to schedule a 9 a.m. call for Thursday, October 10, and
        indicating that they would not be willing to respond to the discovery because they “are of the
        position that no factual development is necessary for the Court to resolve this matter.” During the
        Thursday call, counsel repeated, more or less, that the Defendants’ position is discovery is
        unnecessary because the Defendants are of the position that no factual development is necessary
        for the Court to resolve this matter. In response, I informed counsel on the October 10 phone call
        that the Department of State’s 2024 ballot application reports are evidence of the Defendants’ and
        Counties’ non-verification policy as zero UOCAVA applications are pending identification—and
        that we would be scouring the October 11 filings by the government for attempts to make these
        facts disputed. After the phone call on October 10, I was able to email to counsel for Defendants
        the information below from the PA Department of State's 2024 ballot application data file as
        supporting evidence of the Defendants’ and Counties’ non-verification policy as zero UOCAVA
        absentee ballot applications are pending identification verification.
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              Figure 1:DOS data from 10/7/2024, AB= absentee ballot application,
                                MB = mail ballot applicationi


      On Friday, we received the Defendants’ and Intervenors’ briefs which included
Defendants’ qualified admissions. Plaintiffs believe that the public documents evidence and the
Defendants’ qualified admissions confirm the following facts:

   1. Defendants have instructed counties that HAVA voter registration application identification
      information on UOCAVA voter registration applications is not required and, thus,
      Defendants do not facilitate the verification and matching of driver’s license numbers or
      social security numbers for UOCAVA voter registration applicants who provide DL or SSN
      numbers.
   2. The PA Department of State Defendants have instructed counties that no verification is
      required for absentee ballot applications submitted by UOCAVA applicants and, thus,
      Defendants do not facilitate the verification of eligibility and identity for UOCAVA
      absentee ballot applicants who request ballots for federal elections.
   3. The PA Department of State Defendants have instructed counties not to register UOCAVA
      non-military applicants who indicate that they live overseas and do not intend to return to
      the US or that their intent to return is uncertain. Instead, these applicants are identified as
      Federal Voters and receive a ballot without being registered.
If that is true, then the remaining issues relate to the interpretation of the law and application of
the law in Pennsylvania with regard to federal elections. Consistently, the Defendants have
repeatedly taken the position “no factual development is necessary to resolve this matter.”

       If the court is satisfied with Defendant’s qualified admissions – as we are – then Plaintiffs
believe that the matter can proceed based on the existing record. If the Court is not satisfied with
the Defendant’s qualified admissions, Plaintiffs are prepared to proceed with discovery, including
depositions prior to the Friday hearing, or proceed with an evidentiary hearing as the court may
order.
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                                              Sincerely,



                                               /s/Erick G. Kaardal
                                              Erick G. Kaardal



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 The chart was created on October 10 using PA Department of State's 2024 mail and absentee
ballot application data file (as a snapshot in time) as of October 7, 2024. The data was
downloaded to a computer and analyzed. The following information for non-UOCAVA ballot
application types was derived from that PA Department of State data file: online mail ballot
application verified (OLMAILV); online absentee ballot application verified (OLREGV); paper
mail ballot application (MAILIN); online mail ballot application not verified (OLMAILNV);
paper absentee ballot application (REG/CIV); and online absentee ballot application not verified
(OLREGNV). Next, the following information for UOCAVA ballot application types was
derived from the PA Department of State's data: federal only --unregistered civilian (F); civilian
overseas (CVO); military and military dependents (M); civilian overseas remote/isolated (CRI)
and military remote/isolated (MRI). The number of 2024 ballot applications for all ballot
application types, non-UOCAVA and UOCAVA, were derived from the PA Department of State's
ballot application data file and inserted in the chart for each ballot application type listed. The
sum of all UOCAVA ballot application types for 2024 is presented on a separate row at the
bottom of the chart.
